Case: 1:15-Gv-06151 Document #; 33-5 Filed: 03/28/16 Page 1 of 2 PagegID face ; =
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Case: 1:15-cv-06151 Documantnéts beAledk Odd daikeroage 22 of 41 Pag ay yb 7 ) :

FFENDER’S GRIEVANCE
> 7/293 )3 Pas Pat NESE RS Macagsan |
Present Facility: <= : SAE. Facility \ where grievance BN AEN VE ;

NATURE OF GRIEVANCE: -

 

 

 

 

 

 

 

[) Personal Property Cl Mall Hancdling [J Restoration of Good Time FE] Disabhity

[1] Staff.conduct {1 Dietary C] Medical Treatment [HIPAA . 5

(J Transfer Senial by Faciity 1} ‘Transfer Danial by Transfer Coordinator 7s Bither tipoaiyy Aaving Cond Me a
Disciplinary Report: _ i i gk!

Oo ¥ Date of Report, Factity where ished

 

Note: Protective Gustody Denials fay be prieved immediately via the looal adrninistration on the Protectlye custody status notiicallan.

Complete: Attach 4 copy of any pertinent document (suctt as a Disciplinary Report, Shakedown Racord, etc.) andl sand to:

Counselor, unless the issue involves discipline, is dsemed an emergency, or ly subject to diract review by the Admintatrative Review Board,
Grievance Offfcer, only if tha Issue lywolves discipline at the presant facility ar kaue not resolved by Counselor.

Chief Administrative Officer, only #EMERGENGY grievanos, .

Administrative Review Board, only If the Issue Invelves Lansfer denial by the Transfer Coordinator, protective. custody, involuntary
administration of psychotropic drugs, iséues from another facility except personel property fsues, of Issues Hot resolved by the Ghial
Administrative Officar.

Brief Summ\iary of Grievance: Qo rah BOOS pds 1653S ConCi neck Ax x a7

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Dat i

 

(Continue or reverse sida if necessary}

 

 

 

| Counselor's Response (if applicable) i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date i
Received: ~~ [7] Send directly to Grievance Officar (J Outside Jurisdiction of this facility. Send io
ee. Adrninistrative Review Board, P.O. Box 19277,
“F Springield, IL G27 g..4277 J
Response:
k
i i we
Print Counsalor's Alame Counselor's Signature Date of Response f
| EMERGENCY REVIEW |
Dats

Received: i i Is this determined to be of an emengency nature? [7] Yes; expedite emergency grievance

: (CJ No: en emergency is not substantiated.
Offender should subrilt this Prievance
In the nomnal manner,

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Ohiet Administralive Officers Signature Date [

 

 

 

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